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United States
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UNITED STATES DISTRICT COURT D
JUN 1 6 2015

Davld J. Bradl
clerk of Courety

SOUTHERN DISTRICT OF TEXAS

VICTORIA DIVISION

UNITED STATES OF AMERICA

CRIMINAL NUMBER

v_16_49aa

V.

JOSE ELIZARDO SALINAS

CO'>&O'>OO'JOO>GO'>

lNDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE
On or about May 22, 2016, in the Victoria Division of the Southern District of Texas and
elsewhere within the jurisdiction of the Court, the defendant,
JOSE ELIZARDO SALINAS,
did knowingly and in reckless disregard of the fact that Alvaro Alejo-Velez was an alien who had
come to, entered, and remained in the United States in violation of law, transport, move, attempt to
transport, and attempt to move said alien within the United States in furtherance of such violation
of law by means of a motor vehicle.
In violation of Title 8, United States Code, Sections 1324(a)(l)(A)(ii),
1324(a)(1)(A)(v)(II), and 1324(a)( l)(B)(ii).
COUNT TWO
On or about May 22, 2016, in the Victoria Division of the Southern District of Texas and
elsewhere within the jurisdiction of the Court, the defendant,
JOSE ELIZARDO SALINAS,

did knowingly and in reckless disregard of the fact that Ivan Alejo-Velez was an alien who had

 

 

 

 

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come to, entered, and remained in the United States in violation of law, transport, move, attempt to
transport, and attempt to move said alien within the United States in furtherance of such violation
of law by means of a motor vehicle.

In violation of Title 8, United States Code, Sections 1324(a)(l)(A)(ii),
l324(a)(l )(A)(v)(II), and l324(a)(1)(B)(ii).

CO_UNME

On or about May 22, 2016, in the Victoria Division of the Southern District of Texas and

elsewhere within the jurisdiction of the Court, the defendant,
JOSE ELIZARDO SALINAS,

did knowingly and in reckless disregard of the fact that Manuel Antonio Canas-Molina was an
alien who had come to, entered, and remained in the United States in violation of law, transport,
move, attempt to transport, and attempt to move said alien within the United States in furtherance
of such violation of law by means of a motor vehicle.

In violation of Title 8, United States Code, Sections l324(a)(1)(A)(ii),

1324(3)(1)(A)(v)(11), and 1324(a)(1)(B)(ii).

A TRUE BILL:
ORIGINAL SIGNATURE ON FILE
FOREPERSON OF THE GRAND JURY

KENNETH MAGIDSON
UNITED STATES ATTORNEY

PATTI HUBERT BOOTH
Assistant United States Attorney

 

 

 

 

